ILND 450 (Rev.Case:   1:11-cv-07285
              10/13) Judgment in a Civil ActionDocument   #: 131 Filed: 02/25/15 Page 1 of 2 PageID #:1518

                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS
                                              EASTERN DIVISION

Kirkland et al ,

Plaintiff(s),
                                                                  Case No. 11-cv-07285
v.                                                                Judge Jeffrey T. Gilbert

Sigalove et al,
Defendant(s).



                                              JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                   in favor of plaintiff(s)
                   and against defendant(s)
                   in the amount of $       ,

                          which         includes       pre–judgment interest.
                                        does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                   in favor of defendant(s)
                   and against plaintiff(s)
.
         Defendant(s) shall recover costs from plaintiff(s).


                other: Judgment is entered in favor of Defendants, Steven Sigalove, M.D. and DuPage
Medical Group, Individually and d/b/a The Institute for Aesthetic Surgery, a Corporation, and against
the Plaintiffs, Daryl Kirkland and Judy Kirkland.

This action was (check one):

     tried by a jury with Magistrate Judge Gilbert presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge on a motion for summary judgment.



Date: 2/25/2015                                                Thomas G. Bruton, Clerk of Court
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                                                               Brenda Rinozzi, Deputy Clerk
